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                                                                                                                                             PageDISTRICT
                                                                                                                                                    1 of 2 COURT
                                                                                                                                                 N.D. OF ALABAMA

                                               ALABAMA ETHICS COMMISSION
                                                            LOBBYIST'S FORM
                                        Quarterly Statement of Lobbying Activities
Year:             2016                                 Quarter Covered by this Statement:    1st (January - March)

General Information
Lobbyist:                           GILBERT, JOEL IVERSON                                   Business Phone:        205-251-8100

Business                            Balch & Bingham, LLP                                                 E-Mail:   jgilbert@balch.com

Address:                            1901 6th Avenue North, Suite 1500

City/State/Zip:                     Birmingham, AL 35203


Normal Business:

Normal Business                     Balch & Bingham, LLP

Address:                            1901 6th Avenue North, Suite 1500

City/State/Zip:                     Birmingham, AL 35203


Categories of legislation subject to lobbying activities

Environmental


Did you perform any lobbying activities during this period?

Yes
            �_� Yes:
                         If yes, complete the remainder of the form. If expenditures were made on behalf of several principals, you may add a list of
                         those principals and amounts expended.

            �_� No:      (see paragraph below)
                         Lobbyist (1) performed no lobbying activities; (2) made no expenditures for lobbying activities; (3) loaned no money to any
                         public official or candidate or member of their respective households or anyone on behalf of a public official or candidate or
                         member of their respective households; and (4) had no direct business association with any candidate, public official, or public
                         employee.
Principal(s) for whom lobbying was done.

Principal Name:          Business Alliance for Responsible Development (BARD)               Phone:                 205-945-6472

Address:                 P.O. Box 430221 , Birmingham, AL 35243

Name of Person Signing for Principal:                                                       Sam G Lowrey III

Do you have any expenditures expended within a 24-hour period on a public official, public employee, and members of their respective households in
excess of $250.00 for this principal?

No

Do you have any financial transactions, with public officials, candidates, or members of their households, of a value in excess of $500 during the prior
quarter (excluding transactions required to be reported by Fair Campaign Practices Act)?

No

Were any loans made or promised to a public official or candidate?

No

Do you have any direct business association or partnership with any public official, candidate, or members of the household of such public official or
candidate; provided, however, that campaign expenditures shall not be deemed a business association or partnership?


                                                                                                                                             05/10/2018
                                                                                        Page 2 of 2
No

I certify that the above information is true and correct to the best of my knowledge.

                            Date: 04/13/2016

     Type or Legibly Print name: Joel Iverson Gilbert




                                                                                        05/10/2018
